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Case 2:04-cv-OO482-LKK-DAD Document 108-1 Filed 03/28/05 Page 1 of 23

PA`chIC ECQNOMIC Cc)NSULTANTS, INC.

3m Mc)uNT mABLO BLVD., SulTE 372 TELEPI-IONE: wm 299»1200
LAFAYETTE, CALIF¢:)RNIA 94549 - FACSIMILE: ;925) 299»1490

Facsimile Transmission Cover Sheet

FROM: Mark. Cohen

TC): R. Lamencc Bragg
(916) 925-4591

R.E: O.I.S. vs. Fukuhara et al.

DATE: March 28, 2005

PAGES: 23

(Incl. Covc:~r)

 

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Case 2:04-cv-OO482-LKK-DAD Document108-1 Filed 03/28/05 PageZof 23
PActrrc EcoNoMrc CoNsULTAN'rs, INc.

3732 MCJLJNT DlABl.O BDULEVARD. SU|'|”E 372 TELEPHC>NE: (925] 299-1200
LAFAYE'|TE, ¢.:AL|FOHN|A 94549 FAEslMlLE: (925) 299-1490

March 29, 2005

Mr. R. Lawrence Bragg

Law Offices of Donald .l. DeShaW
2730 Gateway Oalts Drive, Suite 210
Sacramento, Califomia 95833

Re: O.I.S. vs Fukuhara et al.

Dear Mr. Bragg:

As Ch_ief Economist of Pacific Economic Consultants, Inc. I have been retained to
evaluate the economic losses to Ophthalmic lmaging Systems in the above-captioned
case.

In order to complete the assigninent, I have reviewed the following documents:

Deposition transcript of Mr. Mark Fukuhara

Plaintiff"s damages document production

Plaintiffs complaint and OthC*»I' COL|IT filings

Revenue information provided by Mr. Ful<:uhara

SEC IO-KSB Statcments for Ophthalmic Imaging Systems, 1996-2004
Plaintiff Ophthalmic lmaging Systerns’ Initial Disclosures

Purchase Agreernent between Eyepictures, lnc. and Zeta Development Labs

.`*J.C"!~"‘:P*E-‘*l"*l"

Based on the above, I have prepared a preliminary economic loss report. Tliis report is
attached along with my CV, rate sheet and a list of testimonies in the past four years. l
also include rny analysis of the variable expenses for OIS in 2002 based on their detailed
profit and loss statement.

Please note that the attached report is preliminary, and is based on all information
available as of the present date. As additional information becomes available, l may
augment or change my opinions. One of my assignments is to respond to the damages
opinions expressed by experts for the plaintiffs Please note that at this juncture, l have
not been provided with opinions from the economist retained by plaintiff counsel.
Therefore, l cannot comment upon such analysis at this point in time.

SC)UI`HERN CA[_`[FDRNI_A C}F.FlC.ES
5743 SM|THWAY STFIEET. SU|TE 106 v LD$ ANGELEE. GAL|FC!F{N|A E|GD¢D v `|'EL.EF'HONE: (323) 722 - BD-¢l? - FAC$¢M|L.E (323) 722 - 2054
4101 ALMDND STF|EET * Fl|VEF\SlDE. CAL|FDF|NIA 9250'| ' TELEF'HC\NE! (QDE) 791 ~ 09$0 * FACS|M|LEZ [S|OQ) 751 ' 423`|

UE-ZE-UE

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Case 2:04-cv-OO482-LKK-DAD Document 108-1 Filed 03/28/05 Page 3 of 23

Mr. R. Lawrence Bragg
Mareh 29, 2005
Page 'I\vo

lf you have any questions, please do not hesitate to call me.

Sincerely,

“%L¢//;'£_`

Mark Cohen
Chief Economist

Enclosures

F-BEE

|JE|-ZE-|JE |J4:EHPM FROM-PAC|F|C ECONUM|C CUNSULTANTS. |NC. 925-299'149|] T-4EE P.|J4 F-BEE

Case 2:04-cv-OO482-LKK-DAD Document 108-1 Filed 03/28/05 Page 4 of 23

PAcrrIc EcoNoMtc CoNsULTANTs, INc.

5732 MDL|NT D|AEFLO EOULEVAF\D, EU|TE 3'?2 TELEF'HONE: (925) 299-1200
LAFAYETTE. CAL|FOHN|A 94549 FACS|N|ILE: i925) 299-1490

PRELIM|NARY ECONOM|C LOSS REPORT

Four Alternative N|ajor Assurnptions:

1 ) Loss Encls on Date of Sa|e to Zeta Deve|oprr\ent Labs

2 ) Loss Ends One Year After Date of Sa|e to Zeta Deve|opment Labs

3 ) Loss Encts Two Years After Date of stale to Zete Developrnent L,abs
4 ) Loss Ends Three Years After Date of Sa|e to Zeta Deve|opment Labs

March 28, 2005

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5743 SM|THWAY STFtEET, 5L1|TE ms - |_05 ANGELES. CAL|FOHN|A some - TELEPHDNE: {323) 722 ~ 3047 - FACS|MILEE: tas$l 722 " 2054
4101 ALMOND STFtEET » FthERS|DE_ GAL|FDHNlA 92501 - TELEPHDNE: (sos) 781 - anO - FACS|M|LE: (aos) 751 - 4221

UE'ZE-UE

U4:EEPM FROM'PAC|F|C ECONUM|C CONSULTANTS.|NC. 925-299-|490 T-4EE

P.UE/ZE F-QEE

Case 2:04-cv-OO482-LKK-DAD Document 108-1 Filed 03/28/05 Page 5 of 23

Ial:t].e_‘l.

Summary of Eeonomic Loss

H .E .| E|DE!.

A. On Date of Sale to Zeta Development Labs, Table 3A
B. One Year After Date of Sa|e to Zeta Deve|opment Lasbs, Te'lble 35

C. Two Years After Date of Sale to Zeta Development Labs, Tab|e 30

D. Three Years After Date of Sale to Zeta Development Labs, Tab|e 30

greenanst
35 27,794
$ ss,?se
$ rs.sst
s 105,002

|JS-ZE-|JE |J4:EHPM FROM-PAC|F|C ECL`INUM|C CUNSL|LTANTS.|NC. 925-299'149|] T-4EB P.|JE/ZE F-BEE

Case 2:04-cv-OO482-LKK-DAD Document 108-1 Filed 03/28/05 Page 6 of 23

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Actuarial Data

Date Fukuhara Left O|S'. 1/7/02
E| Dorado Hi||s Office Opened (‘|) 4/1/02
Date of Sale of Eyepictures, lnc. to Zeta Developrnent Labs 5/2/03
Date of Va|uation: '| 118/05

 

1 - Mr. Fukuhara testified in deposition that the office opened in N|arch or
Apri| of 2002. The calculations in the present report are based on an
opening date of Apri| 1, 2002. Source: Deposition of Nlark Fukuhara, May

17, 2004.

|JE-ZE-|JE |J4:EHPM FRUM-PAC|F|C ECL`INUM|C CDNSULTANTS.|NC. 925-299-149|] T-4EB P.|J?/ZB F-HEE

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Eeonomic Loss
Loss Ends on Date of Sa|e to Zeta Development Labs

Annua|

Economic
Dates (1) F’eriod Loss (2) Period Loss
411!02 - 512/03 1.08 $ 25,735 $ 27,794
Economic Loss: $ 27,794

 

1 - Mr. Brodsky signed the purchase agreement for the sale of Eyepictures,
|nc. on |Vlay 2, 2003, one day after lV|r. Justice signed the purchase
agreement Source: PURCHASE AGREEMENT.

2 - Based on average annual revenues of $65,819, derived from total
revenues of $71,035 Ga|cu|ated over the period starting with the date of
office opening until the date of sale for Eyepictures, |nc. Revenue
information supplied by Mr. Mark Fukuhara. Variable expenses are
subtracted from revenues at 60.90%, based on an analysis of the detailed
2002 profit and loss statement for G|S.

|JE-ZE-|JE |J4:EBPM FROM-PAC|F|C ECUNOM|C CE|NSULTANTS.|NC. 925-299-149|] T-4EE P.|JE/ZE| F-BEE

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Economic Loss
Loss Ends One \'ear After Date of Sale to Zeta Development Labs

 

Annua|

Economic
Dates (1) F’eriod Loss (2) Period Loss
411/02 -» 512/04 2.09 $ 25.735 $ 53,786
Economic Loss: $ 53,786

 

1 - Mr. Brodsky signed the purchase agreement for the sale of Eyepictures,
|nc. on |Viay 2, 2003, one day after N|r. ..Iustice signed the purchase
agreement Source: PURCHASE AGREEMENT.

2 - Based on average annual revenues of $65,819, derived from total
revenues of$71,085 calculated over the period starting with the date of
office opening until the date of sale for Eyepictures, Incq Revenue
information supplied by |VIr. Mark Fukuhara. Variab|e expenses are
subtracted from revenues at 60.90%, based on an analysis of the detailed
2002 profit and loss statement for O|S.

|JE-ZE-|JE |J4:EBPM FROM-PAC|F|C ECUNOM|C CE|NSULTANTS.|NC. 925-299-149|] T-4EE P.|JE/Zil F-BEE

Case 2:04-cv-OO482-LKK-DAD Document 108-1 Filed 03/28/05 Page 9 of 23

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Economic Loss
Loss Ends Two Years After Date of Sale to Zeta Deve|opment l..abs

 

 

Annual

Econornic
Dates (1) Period Loss (2) Period Loss
4/1/02 - 5/2/05 3.00 $ 25,735 iii 79,521
Economic Loss: $ 79,521

 

1 - Nlr. Brodsky signed the purchase agreement for the sale of Eyepictures,
|nc. on lVlay 2, 2003, one day after Mr. Justice signed the purchase
agreement Source: PURCHASE AGREEMENT.

2 - Based on average annual revenues of $65,819, derived from total
revenues of $71,085 calculated over the period starting With the date of
office opening until the date of sale for Eyepictures, lnc. Revenue
information supplied by lVlr. Nlark Fukuhara. Variable expenses are
subtracted from revenues at 60.90%. based on an analysis of the detailed
2002 profit and loss statement for OlS.

|JE-ZB-UE |JE:|J|JPM FRUM-PAC|F|C ECDNL`|M|C CUNSL|LTANTS.|NC. 925-299-149|] T-4EE P.l|J/23 F-EEE

Case 2:O4-cv-OO482-LKK-DAD Document 108-1 Filed 03/28/05 Page 10 of 23

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Economic Loss
Loss Ends Three Years After Date of Sale to Zeta Development L.abs

Annual

Economic
Dates §1} Period I_oss l2) Period Loss §3)
4/1!02 - 11/8!05 3.61 iii 25,735 $ 92,903
11/9!05 - 512/06 0.48 iii 25,735 $ 12.098
Economic Loss: $ 105,002

 

1 - lVlr. Brodsky signed the purchase agreement for the sale of Eyepictures,
lnc. on lVlay 2, 2003, one day after lVlr. Justice signed the purchase
agreement Source: PURCHASE AGREEMENT.

2 - Based on average annual revenues of $65,819, derived from total
revenues of $71 ,085 calculated over the period starting With the date of office
opening until the date of sale for Eyepicturesl |nc. Revenue information
supplied by Mr. l\/larlt Ful<uhara. Variable expenses are subtracted from
revenues at 60.90%. based on an analysis of the detailed 2002 profit and loss
statement for C)iS.

3 - Beginning 1119/2005, 9.4% Net Discount Rate based on PIE ratio for
`C)phthalmic lmaging Systems |nc. indicated on Yahool Finance as of March
25, 2005 used to calculate Present Cash Value.

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Case 2:O4-cv-OO482-LKK-DAD Document 108-1 Filed 03/28/05 P_age 11 of 23

OlS Profit and Loss for 2002

Revenues and

Variable
Expenses

Percentage 100%
of Revenues Variable 50% Variable

 

Gross Sales
Service Revenues

Subtotal, Revenues

Cost of Goods Sold - Sales
Cost of Goods Sold - Service

Subtotal, Cost of Goods Sold

Administrative Expenses
Bank Charges
Collection Fees
Consulting Fees
Consulting Expenses
Offlce Expense
Bad Debt
Returnszllowances
Telephone

Subtotal, Administrative Expenses

Marketing Expenses
Nlaterials Expenses
Produetion Expenses
Cluality Expenses
R&D Admin

Hardware Engineering
Software Engineering
Regulatory Expenses

Sales Expenses - Domestic
Gonsulting Fees
Gonsulting E)cpenses
Employee Benetits
Freight - Shipping
Salaries
Bonus

s'/,sos,1s4.ss
assistan

$8,465,706.66

ss,aaa,ses.'ro
aaz.;$_‘laas

$3,321 ,902.53

$23,92?.34
$410.00
$50,254.53
ss,sss.ss
sas,ssr.ss
$12,679.67
$94,153.90
$2_4.§22.12

s241,174.ss

N/A
N/A
NIA
N)'A
N/A
N)'A
N/A
NIA

assess
$621.90

_ sar,ess.ss

sr.sss.es
ssi 1 ,904.15
s'r,oco.oa

39 .24%

$23,927.34
s41o.oo

$50,254.53
$s,ass.es

sae,asr.ss
$12,679.07
$94,158.90

$24,622.72

2.85%

ss44.ss
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$47.sss.32
$r,sss.ss
sa11,soa.1 s
$7,000.02

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Case 2:O4-cv-OO482-LKK-DAD Document 108-1 Filed 03/28/05 Page 12 of 23

DIS Froflt and Loss for 2002

Revenues and
Variable F'ercentage 100%
Expenses of Revenues Variable 50% Variable

Payro|| Tax -$320.57 -$320.57
Vacation Clearing -$351.58 _$361 ,53
Sick Time C|earing “$3,383.19 -$3,383.19
Postage $172.01 $172.0_1
Supplies $6,596.99 $6 ,595 .90
Telephone $27,022.23 $27,022.23
Travel $299,571 .70 $290,571.70
N|iscel|aneous $6,719,10 $6,719.10
Commissions $_&'L§.Q]§.§ld $375,916.34

Subtotal, Sales Expenses $907.509.11 1 1 .66%

SaIes Administration Expenses N/A

Field Support Expenses

Consu|ting Fees $2.230.19 $2,230.19
Consulting Expenses $2.132.31 $2,132.3'|
Consu|ting Fees- inst $18,745.36 $18,745.30
Consultant Expenses $59,235.40 $59,285.40
Employee Elenet'lts $19,180.19 $19,100.19
Freight - Shipping $1.092.08 $1,092.68
Salaries $113,500.87 $113,560.87
Bonus $'150.76 $150.76
Payroll Tax -$64.61 -$64.61
Vaeation Clearing $1,561.29 $1,551.29
Sick Time Clearing -$130.97 -$130.97
Supp|ies $1,208.09 $1,208.59
Telephone $7,382.09 $?',802.09
Travei $268,461.99 $258,461 .99
Misce|laneous $.Z|_Q.JM§E $10,198,56

Subtotal, Field Support Expenses $505,494.79 5.97%

Se|ee Expenses - lnternationa|
Telephone $1,127.42 $1,127.42
Miscel|aneous ~$13&.21 -$134.27

Subtotal, Sa|es Expenses - lnt'| $903.15 0.01%

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925-299'1490 T-4EB P.lE/ZE F-BEE

Case 2:O4-cv-OO482-LKK-DAD Document 108-1 Filed 03/28/05 Page 13 of 23

OIS Frotit and Loss for 2002

Revenues and

 

 

Variable Percentage 100%
Expenses of Revenues Variable 50% Variable
Technical Support Expenses
Gommissions $18,953.71 $18,953.71
Consulting Fees $1,139.00 $1,139.00
Consultant Expenses $52.80 $52.50
Employee Benefits $20,985.00 $20,985.06
Freight - Shipping $34,631.14 $34,681.14
Salaries $11,014.37 $1 11014_37
Elonus $452.2'!' $452_27
F'ayrol| Tax »$75.63 -$75.68
Vacation G|earing -$552.04 -$552.94
Sick Time C|earing -$400.21 -$400.21
Recruitment Ads $156.82 $156.82
Supp|ies $297.67 $297.67
Telephone $4,354.05 $4,354.05
Travel $l.i$_&ll $7,563.71
Subtotal, Tech Support Expenses $98,621,77 1.16%
installation Activity N/A
Service Activity NfA
Total Variable Expenses $5,155,690.29 60.90% N/A N/A

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Case 2:O4-cv-OO482-LKK-DAD Document 108-1 Filed 03/28/05 Page 14 of 23

PACIFIc Economic CoNsULTANTs, INc.

3732 N|OL.|NT D|ABLC| EOULEVAHD, SU|TE 372 TELEPHONE: (925) 299-1200
LAFAYET'TE. GAL|FOFlN|A 54549 FACS|M|LE: (1325) 299-1490

MARK COI-IEN

CURRICULUM VITAE

FINANCIAL, STATISTICAL & REHABILITATION ECONOMIST

PAClFlC ECONOMIC CONSULTANTS, INC., Lafayette, California, 1995 to Present.
Principal, Cbief Economist. Valuation of businesses and economic losses in business,
personal injury, Wrongful death, labor and marital litigation Preparation of statistical
analyses, vocationall labor and job market consultation and studies Development
and placement of structured settlement alternatives

EAY AREA PSYCHOTHERAPY TRAINING INSTITUTE, Lafayette, California, 1994
to 2001.
Member, Board of Directors. Consultation in the business development and
management of this non-profit training institute.

THE UDINSKY GRC)UP, Berlceley, California, 1984 to 1995.
Vice President. Valuation of businesses and economic losses in business, personal
inj ury, wrongti.tl death, labor and marital litigation. Preparation of statistical
analyses, labor and job market consultation and studies. Developrnent and placement
of structured settlement altematives.

TEACHING EXPERIENCE

 

DOMINICAN UNIVERSITY, San Rai"ael, California, 1992 to l998.
Adjunot Professor of Graduate Level lnternational Finance, Monetary Systems and
lnvestments, M.B.A. Program; Undergraduate Level lnternational Finance and
lnvestments, Business School Program.

EUROPEAN BUSINESS SCHOOL, Brussels, Belgium, 1991.
Adjunct Professor of Undergraduate Level Money and Banlcing, Statistics, and
Management.

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Case 2:O4-cv-OO482-LKK-DAD Document 108-1 Filed 03/28/05 Page 15 of 23
EDUCATION

UNIVERSITY OF CALIFORNIA AT BER.KELEY. Bachelors of Scicnce, Business
Administration, 1932 Emphasis in Finance.

BOSTON `UNIVER,SITY. Masters of Science, Managernent, 1991. Emphasis in
lnternational Finance. Graduated first in class.

ST. MARY’S COLLEGE. Masters of Arts, Cotmseling, 1998. Emphasis in
Vocational Rehabilitation and Career Counseling.

LINDENWOOD COLLEGE: (1) Principles of Business Valuation, (2) Business
Valuation Theory and l\/lethodology, (3) Business Valuation: Selected Advanced
Topics.

PUBLICATIONS AND INVITED PRESENTATIONS

“Economic Issues F or Vocational Experts To Consider in Vocational Analysis,”
presented to the California Association of Rehabilitation and Re-Employrnent
Professionals, Oakland, Novernber 2002.

“Estimating Economic Loss To lnjured Self Employed Worl<ers,” presented to the
Arnerican Rehabilitation Economies Associations (AREA), Reno, May 1998.

“Methodologies to Irnprove Economic and Vocational Analysis in Personal Injury
Litigation,” With Thomas Yanl<owski, M.S., C.V.E., Litic,ation Economics Di,aest,
National Association of Forensic Economics, Missouri. Volume ll, issue No. 2,
Summer 1997. Also published in Vocational Evaluation and Work Adiustment
Journal, The Prot`essional Joumal of The Vocational Evaluation and Worlt
Adjustment Association, Volurne 31, No. ia, FallfWinter 1998,

“Vocational Evaluaticn and Economic Analysis in Personal lnjury and Wrongt`ul
Tennination Cases,” with Thomas Yanlcowsl<i, M.S., C.V.E., presented to the
National Association of Rehabilitation Professional in the Private Sector; San
Francisco, April 1995.

“Tlie Economics of Employrnent Discharge and Your Case,” with Jerald H. Udinsky,
Ph.`D., A.S.A., The Lawyer"s Brief, Business Laws, lne., Ohio. Volume 20, lssue No.
5, March 15, 1990

“Estimation of Future `Medical and Rehabilitation Care Costs: lssues and Questions
for The Attention of Rehabilitation Professionals,” presented to the Registered Nurses
Professionals Association, Santa Clara Valley Medieal Center, .`lanuary 1990

LICENSES., CERTIFICATIONS A_ND ASSOCIATIONS

Certified Eamings Analyst:l American Rehabilitation Economics Association.
American Society of Appraisers, Business Valuation.

Calit`omia State Licensed Lit"e lnsurance Agcnt.

Arnerican Economics Assoeiation.

California Association of Rehabilitation and Re-Employment Professionals.
Westem Economic Association.

i\Tmirmal Association of Forensic Economics.

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Case 2:O4-cv-OO482-LKK-DAD Document 108-1 Filed 03/28/05 Page 16 of 23

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LAFAYE'|'|'E, CAL.iFOFlNlA 94549 FACSI|V|lLE: tE|EE) 299-1490

RATE SCI~IEDULE

Effective 2/1/05

$250 per hour for review, consultation, analysis and travel

$475 per hour, one-hour minimum, for deposition and trial testimony

SCJLJTHE.RN Cal_lFORNlA DFI~`]CES
5743 SM|THWAY S`I'REET. ElJlTE 106 - LC>s ANGELES. CALlFoHNIA some - TELEPHONE: (sas) 122 - so47 » FAcslMll.E; (sss) 722 » sos-4
410'| ALMOND ETREET - FllVEF\leE, CALlFoleA seem - TELEF'HONE: (sos) 751 - esso - FAosllvllLE: (sos) 731 - 4221

925-290-1400

LiST OF TEBT|N`IDN|ES

 

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Date blame
2001 Garcia v. Nea|
2001 ' Dodson v. "l'imberoove
2001 Rornero v. l<alser
2001 Mci\./larrow v. Kaiser
2001 Norris v. Stein
2001 l\/|unroe v. l\/ietson Navigation Company
2001 Gardner v. Peramount Parks, inc.
2001 Cl'iang v. TSi\/i insurance
2001 i_aeey V. Northbey l'iea|ti'i Care Services
2001 Eiaritot v. Bowers
2001 Heffeifinger V. Centrai Goncrete 30
2001 i\/lisita v. Novotny
2001 Beasley v. EBMUD
2001 Sancimlno v. Do|en
2001 Johnson, Ronald, .ir. v. l<aiser
2001 Reinneimer v. Wagner
2001 Torres v. Standard Pacinc
2001 l-iacl<ett v. l~'lorne Depot
2001 Farnily Enterprise & vaartz v Bescal
2001 Shipley v. Misle
2001 Eiurbani< v. "l"ranservel et al
2001 Sanders v. l'E`-ladenl iVi.D,
2001 Forbes v. l.lnited Airlines
2001 Peterson v. Shapel|
2001 Riei:»e v. Panl~:ow
2001 F'ait v. Memoriel Hospitei, et al
2001 Garter v. Wa|greens
2001 Martinez v. Elovis Lend Lease
2001 Forbes v. Linited Airlines
2001 F~`tiebe v. Panl<ow
2001 Donneiian v. DEB Construotion
2001 Glen Holly Enterteinrnent v. Tel<tronix
2001 Adams v. Galif. Pacific lvledical Center
2001 Puryear v. Maris
2001 Booker v. Bay Area Gontract Trans.
2001 Van Aistine v. Eiay Va|ley lVledlcal
2001 Rioi<abaugh v. Encho
2001 Eever|in vi State of C.`»elifornia
2001 Serrano v. Ryan Associates
2001 lVicL.ean v. Ward lvlachinery
2001 Eiool<er v. Esay Area Contract Transportetio
2001 Pratt v. Ramirea
2001 Kamber v. Allied Group insurance
2001 Serrano v. Ryan Assoclates
2001 Lopez v. Shows
2001 Eepu|veda v. ESCO Trensportatlon, et al
2001 Puryear v. |Viaris `

Memo

Deposition testimony.
Deposltion testimony.
Arbitratlon testimony.

Trial testimony.
Trlal testimony.

Deposltion testimony.
Deposition testimony.
Deposition testimony.

Triai testimony.

D_eposition testimony.
Deposition testimony.

Triai testimony.

Deposltion testimony.
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